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                                UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
                                                                            *E-FILED*
                                           CIVIL MINUTES

                                                                     DATE: November 21, 2007
Case No. C-00-20905-RMW           JUDGE: Ronald M. Whyte
HYNIX                                         -v- RAMBUS
CASE NO.C-0-00334-RMW
RAMBUS, INC.                                     -v-HYNIX, et al.
Case No. C-05-2298-RMW
RAMBUS, INC.                                     -v-SAMSUNG
Case No. C-06-00244-RMW
RAMBUS, INC.                                     -v-MICRON
Title

Appeared                                            Appeared
Attorneys Present                                   Attorneys Present

COURT CLERK: Jackie Garcia                         COURT REPORTER: Lee-Anne Shortridge


                                           PROCEEDINGS

 HEARING ON SUMMARY JUDGMENT MOTIONS AND DAUBERT MOTIONS/FURTHER CASE
                      MANAGEMENT CONFERENCE

ORDER AFTER HEARING

Hearing Held. The Court heard oral argument from both sides. The Court took all motions under

submission. The Court to send out a ruling to the parties. All motions are deemed submitted.
